                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR09-0028-LRR
 vs.                                             ORDER REGARDING MOTION
                                                 FOR SENTENCE REDUCTION
 GEORGE CORBETT,
                                                       PURSUANT TO
               Defendant.                           18 U.S.C. § 3582(c)(2)




       Regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the court
held a hearing on June 23, 2015. Consistent with the findings that the court made during
the hearing concerning Amendment 782 (subject to subsection (e)(1)), the court concludes
that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not justified. After
thoroughly reviewing the defendant’s file, the provisions and commentary of USSG
§1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the nature and seriousness of the
danger to any person or community that may be posed by a reduction in the defendant’s
term of imprisonment and the defendant’s post-sentencing conduct, the court declined to
exercise its discretion under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. Accordingly,
the defendant’s motion to reduce sentence (docket no. 193) is denied. The clerk’s office
is directed to send a copy of this order to the defendant and provide a copy of this order
to appointed counsel, the office of the Federal Public Defender, the office of the United




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States Attorney and the office of United States Probation.
      IT IS SO ORDERED.
      DATED this 29th day of June, 2015.




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